                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


GUILFORD COLLEGE, GUILFORD COLLEGE                          )
INTERNATIONAL CLUB, THE NEW SCHOOL,                         )
FOOTHILL-DE ANZA COMMUNITY COLLEGE                          )
DISTRICT, HAVERFORD COLLEGE, THE                            )
AMERICAN FEDERATION OF TEACHERS,                            )
JIA YE, and SEN LI,                                         )
                                                            )
                              Plaintiffs,                   )
                                                            )
                      v.                                    )      1:18CV891
                                                            )
CHAD WOLF, U.S. DEPARTMENT OF                               )
HOMELAND SECURITY, KEN CUCCINELLI,                          )
and U.S. CITIZENSHIP AND IMMIGRATION                        )
SERVICES,                                                   )
                                                            )
                              Defendants.                   )


                                            JUDGMENT
       For the reasons set forth in the Memorandum Opinion and Order filed

contemporaneously with this Judgment,

       IT IS HEREBY ORDERED AND ADJUDGED that Plaintiffs’ Motion for Partial

Summary Judgment, (ECF No. 60), is GRANTED. The United States Citizenship and

Immigration Services’ August 9, 2018 memorandum entitled “Accrual of Unlawful Presence

and F, J, and M Nonimmigrants” (PM-602-1060.1), as well as the corresponding

memorandum with the same title issued on May 10, 2018 (PM-602-1060), are hereby declared

invalid, set aside, and enjoined nationwide in all applications.

       IT IS FURTHER ORDERED that the Government’s Motion for Summary Judgment,

(ECF No. 62), is DENIED.




       Case 1:18-cv-00891-LCB-JEP Document 70 Filed 02/06/20 Page 1 of 2
      IT IS FURTHER ORDERED that, Judgment having been entered, this action is

hereby terminated.

      This, the 6th day of February 2020.


                                            /s/Loretta C. Biggs
                                            United States District Judge




                                               2



      Case 1:18-cv-00891-LCB-JEP Document 70 Filed 02/06/20 Page 2 of 2
